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UNITED STATES DISTRICT COURT Mt Us Digem 017 Dp
MIDDLE DISTRICT OF TENNESSEE “IDn, ,, °!?loq “
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CRAIG CUNNINGHAM, Pro-se )
)
Plaintiff )
) CIVIL ACTION NO.: 3:16-cv-02921
Vv. )

Sunshine Conulting Group, LLC et al )

Defendants.

 

Consulting Group, LLC WITHOUT prejudice

1. To the honorable US District Court:

MOTION TO DISMI OR SUNSHINE CONSULTATION SERVICES, LLC

2. The Plaintiff conferred with Matthew Leibert on 2/24/2017 regarding a motion to
dismiss, and the Plaintiff stated that if they were arguing a lack of personal
jurisdiction, that he would dismiss the case and refile it in Florida where they can’t
contest personal jurisdiction. Matthew Leibert stated “Ok, yes, dismiss them out and
refile in Florida” Before the Plaintiff had an opportunity to do this, the Defendants
filed their motion to Dismiss.

3. Pursuant to an agreement between the parties, the Plaintiff seeks to dismiss the
claims against Defendant Sunshine Consultation Services, LLC as the Plaintiff
intends to pursue them against the defendant in Florida.

MOTION TO DISMISS SUNSHINE CONSULTING GROUP, LLC

4. Similarly, the Plaintiff seeks to dismiss his claims against Sunshine Consulting

Group, LLC without prejudice to pursue those claims in California against the

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Defendants as they too are arguing the court has no personal jurisdiction, and they
can’t make such an argument in their home jurisdiction. By filing a motion to dismiss
complaining of a lack of personal jurisdiction, they are inviting the Plaintiff to sue
them in California, which the Plaintiff seeks to oblige.
Conclusion
5. As the Defendants are claiming no personal jurisdiction exists, the court should grant

the Plaintiff's motion to dismiss without prejudice.

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Plaintiff,

§543 Edmondson Pike ste 248
Nashville, TN 37211
3/09/2017

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MIDDLE DISTRICT OF TENNESSEE

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Plaintiff )
) CIVIL ACTION NO.: 3:16-cv-02921

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Defendants.

Plaintiff’s Certificate of Service

I hereby certify that a true copy of the foregoing was mailed to the following via USPS
First Class mail on 3/9/2017

Constance Mann, 1107 Battlewood Street, Franklin, TN 37069 .
Elaina S. Al-Nimri, Bass Berry, and Sims, 150 Third Ave. South, ste 2800, Nashville, TN
37201.

  

Plaintiff,

5543 Edmondson Pike, ste 248
Nashville, TN 37211
615-348-1977

3/9/2017

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

CRAIG CUNNINGHAM, Pro-se )
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Plaintiff )
) CIVIL ACTION NO.: 3:16-cv-02921
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Defendants.

Order

The Plaintiff's Motion to Dismiss without prejudice is hereby Granted/Denied

Date

Judge

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